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                                UN ITED STA TES D ISTRICT C OU RT
                                                                                             SEA LED
                                SOU TH ERN IDISTR ICT O F FLORID A
                                                                                     =   U   NOT
                                                                                               - SEALED
                                   CA SE N O .l7-CR-202l5-SCO LA                ..




   UN ITED STA TES O F A M ER ICA ,

                          Plaintiff,



    SAM ER H .BA RR A GE
    REN A TO J.RO D RIGU EZ,and
    JU AN P.GR AN DA ,
          aQ /a ET lecha,''

           D efendants.
                                          /


                           PO ST-IN DICTM EN T PR O TEC TIVE O R DER

           TH IS M A TTER is before the Cdnul't upon the U nited States of A m erica's Ex Parte

    M otion forPost-lndictmentProtective Orderto preserve the availability ofproperty subjectto
    forfeitureinthiscase,pursuantto Title21.United StatesCode,Section853(e)(1'
                                                                             .
                                                                             )(A).TheCourt
    having review ed the m otion and being otherwise fully advised in the prem ises findsthat:

                   On M arch 23, 2017, tlle defendants SA M ER H . BARRA G E, RENA TO J.

    RODRIGUEZ,and JUAN P.GRANDA (hereinaftercollectively referred to as''DEFENDANTS'),
    w ere charged by way of an lndictm entw ith conspiracy to com m itm oney laundering in violation of

    l8U.S.C.j l956(h).
                   The U nited States seeks the Post-lndictm entProtective O rder to preventthe transfer,

    alienation,encum brance ordissipation ofproperty by any ofthe Defendants orany third party which

    would rendersaid property unavailable forforfeiture.
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                  The charging of Defendants SA M ER H .BA RR AG E,REN A TO J.ROD RIG UEZ,and

   JUA N P. GRA N DA by lndictm ent establishes sufficient probable cause for the issuance of the

   requested Protective Orderforthe follow ing assets:

                  the contentsofSunTnzstBank A ccountnum ber 1000073421504;

          (b)     thecontentsofSunTnlstBankAccountnumber1000073421512;
           (c)    thecontentsofSunTnlstBankAccountnumber1000073421520;
           (d)    thecontentsofSun-
                                  l-rustBankAccountnumber1000173207779;and
                  realproperty located atM alibu atPacific M arlin in San Juan de1Sur,Nicaragua;

           4.     TheCourthasauthorityandjurisdictiontoissuetheRestrainingOrderpursuantto
    21U.S.C.j853(e)(1)(A).
           5.     A ny third party claim s to the property m ay be properly brought and resolved in

    ancillary proceedings conducted by the Court in accordance with the provisicms of federal

    forfeiturelaw.21U.S.C.j853(k).
           A ccordingly,itis hereby O R DER ED and A D JU D G ED that:

                  Effective im m ediately,each ofthe Defendants,their agents,servants,em ployees,

    attorneys,fam ily m em bers and those personsin active concertorparticipation with each ofthem ,

    and those persons,financialinstitutions,()r other entities w ho have any interestor control over

    thesubjectproperty arehereby RESTRAINED,ENJOINED,AND PROHIBITED,withoutprior
    approvalof the Courtand upon notice t(,the United States and an opportunity for the U nited

    States to be heard,from attem pting or com pleting any action thatw ould affect the availability,

    marketability or value of the subject assets, including but not limited to withdrawing,
    transferring, selling, assigning, pledging, distributing, encum bering, w asting, secreting,
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   depreciating,dam aging,or in any w ay dinzinishing the value of,allor any pal'toftheir interest,

   directorindirect,inthesubjectassetslistedinparagraph 3,
                                                         '
                     Property ownerts) are required to maintain the present condition of the real
   property subjectto the Protective Order,including making timely paymentofa1lmortgages,
    insurances,utilities,taxes,and assessm entsuntilfurtherorderofthe Court;

           C.        Any financialinstitutions,otherentities orpersons,holding m ortgages on the real

    property subjectto theProtectiveOrdershallrespond promptly to requestsby theGovernment
    for infonuation on said m ortgage's cun-entstatus. N o action shallbe taken to foreclose against

    therealproperty;

           D.        Any financialinstitutions holding accounts subjectto thisOrdershallrespond
    prom ptly to requests by the Govelmm ent for infonuation on said accounts'current status.The

    financialinstitutions on which a copy ofthis orderis selwed shallim m ediately inform the federal

    1aw enforcem entagency providing the Order orthe United StatesA ttorney ofthe balances ofany

    and allretrained accountson the date ofservice and thereafter.

           E.        Anyentitiesorpersonshavingan interestin therealpropertynamedassubjectto
    forfeiture shallrespond prom ptly to requestsby the U nited States forinform atiorton the status of

    said interest;

                     A n authorized agent of the United States shall profnptly serve a copy of the

    Protective Order upon the D efendants, unless a copy is provided electronically to counsel for

    each ofthe Defendants,and to thoseknown individuals orinstitutionsin controlotlorwith an
    interest,in the realproperty. Service of a copy of the Protective Order m ay be m ade through

    electronicm ailorfacsim iletransmission'
                                           ,
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             G.    An agentoftheDepartmentofHomeland Securitylnvestigation(t'HSl'') orother
    authorizedagentoftheUnitedStatesisherebypermittedto:1)entertherealpropertyreferenced
    in the Protective O rder, including any of'its curtilage or structures,on one or m ore occasions

    during the pendency ofthis case,forthe purpose ofconducting an inspection or inventory ofthe

    realproperty;2)documenttheconditionoftherealproperty,toinclude,amongothermeans,still
    and videophotography;and 3)be accompanied on any such occasion by any federal,state,and
    local law enforcem ent ofticer it selects to ensure the safety of personnel acting under the

    Restraining Order, or any other person necessary to assist in conducting an inspection or

    inventory ofthe realproperty.

                   The Protective Ordershallrem ain in fullforce and effectuntilfurtherorder ofthe

    Court.

             DO NE A N D O R DER ED atM iam i,Florida this        day ofM arch 2017.


                                                       H O NO R ABLE R O BER T N .SCO LA,JR .
                                                       U NITED STATES D ISTR ICT JU DG E
             counselofrecord
